                    Case 25-50835-TMH              Doc 5      Filed 06/12/25         Page 1 of 5




                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE


    In re:                                                           Chapter 7

    CHRISTMAS TREE SHOPS, LLC, et al., 1                             Case No. 23-10576 (TMH)

                                   Debtors.                          (Jointly Administered)



    GEORGE L. MILLER, in his capacity as Chapter                     Adv. Proc. No. 25-50835 (TMH)
    7 Trustee of CHRISTMAS TREE SHOPS, LLC
    et al.,

                                  Plaintiff,

    vs.

    COASTAL CONSTRUCTION CORP.,

                                  Defendant.


             ORDER APPROVING STIPULATION FOR FURTHER EXTENSION
             OF TIME FOR THE DEFENDANT TO ANSWER THE COMPLAINT

                    Upon consideration of the Stipulation for Further Extension of Time for the

Defendant to Answer the Complaint (the “Stipulation”) filed by the Chapter 7 Trustee and the

Defendant; and the Court having reviewed the Stipulation, a copy of which is attached hereto as

Exhibit 1; and good cause appearing for the relief requested therein, it is hereby ORDERED

THAT:

                    1.        The Stipulation, attached hereto as Exhibit 1, is approved in its entirety.




1
      The Debtors in these chapter 7 cases and the last four digits of each Debtor’s U.S. tax identification number are
      as follows: Christmas Tree Shops, LLC (1207), Handil, LLC (1150), Handil Holdings, LLC (2891), Salkovitz
      Family Trust 2, LLC (8773), and Nantucket Distributing Co., LLC (1640).


4905-8784-3917.1 57097.001
                    Case 25-50835-TMH          Doc 5     Filed 06/12/25    Page 2 of 5




                    2.       This Court retains jurisdiction with respect to all matters arising from or

related to the implementation or interpretation of this Order.




       Dated: June 12th, 2025                          THOMAS M. HORAN
       Wilmington, Delaware                            UNITED STATES BANKRUPTCY JUDGE




4905-8784-3917.1 57097.001
                    Case 25-50835-TMH   Doc 5   Filed 06/12/25   Page 3 of 5




                                  EXHIBIT 1 TO ORDER




4905-8784-3917.1 57097.001
                    Case 25-50835-TMH              Doc 5      Filed 06/12/25         Page 4 of 5




                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE


    In re:                                                           Chapter 7

    CHRISTMAS TREE SHOPS, LLC, et al., 2                             Case No. 23-10576 (TMH)

                                  Debtors.                           (Jointly Administered)



    GEORGE L. MILLER, in his capacity as Chapter                     Adv. Proc. No. 25-50835 (TMH)
    7 Trustee of CHRISTMAS TREE SHOPS, LLC
    et al.,

                                  Plaintiff,

    vs.

    COASTAL CONSTRUCTION CORP.,

                                  Defendant.


                       STIPULATION FOR FURTHER EXTENSION
              OF TIME FOR THE DEFENDANT TO ANSWER THE COMPLAINT

                    Plaintiff, George L. Miller in his capacity as chapter 7 trustee of Christmas Tree

Shops LLC, et al., (the “Plaintiff”), for the estates of the above-captioned debtors (the “Debtors”)

in the above-captioned cases pending under chapter 7 of title 11 of the United States Code (the

“Bankruptcy Code”), by and through his undersigned counsel and defendant Coastal

Construction Corp. (the “Defendant,” and together with Plaintiff, the “Parties”), enter into this

Stipulation for Further Extension of Time for Defendant to Answer the Complaint (the

“Stipulation”) and hereby stipulate and agree as follows:



2
      The Debtors in these chapter 7 cases and the last four digits of each Debtor’s U.S. tax identification number are
      as follows: Christmas Tree Shops, LLC (1207), Handil, LLC (1150), Handil Holdings, LLC (2891), Salkovitz
      Family Trust 2, LLC (8773), and Nantucket Distributing Co., LLC (1640).


4905-8784-3917.1 57097.001
                    Case 25-50835-TMH         Doc 5     Filed 06/12/25     Page 5 of 5




          1.        The Parties agree and stipulate that the time within which the Defendant may

answer the Complaint [D.I. 1] in the above-captioned adversary proceeding is hereby extended to

and including July 15, 2025.

          2.        Except as specifically set forth herein, the Parties reserve all of their respective

rights in this matter.

 Dated: June 11, 2025                                     Dated: June 11, 2025

 PACHULSKI STANG ZIEHL & JONES LLP                        HARRIS BEACH MURTHA

 /s/ Peter J. Keane                                       /s/ Jonathan M. Horne
 Bradford J. Sandler (DE Bar No. 4142)                    Jonathan M. Horne, Esq.
 Peter J. Keane (DE Bar No. 5503)                         33 Arch Street, 12th Floor
 Edward A. Corma (DE Bar No. 6718)                        Boston, MA 02110-2320
 919 North Market Street, 17th Floor                      Telephone: (617) 457-4085
 P.O. Box 8705                                            Email: jhorne@harrisbeachmurtha.com
 Wilmington, DE 19899-8705 (Courier 19801)
 Telephone: (302) 652-4100                                Counsel to Defendant
 Facsimile: (302) 652-4400                                Coastal Construction Corp.
 Email: bsandler@pszjlaw.com
          pkeane@pszjlaw.com
          ecorma@pszjlaw.com

 Counsel to Plaintiff George L. Miller, Chapter 7
 Trustee of Christmas Tree Shops, LLC, et al.




4905-8784-3917.1 57097.001
